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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 17-23136-Civ-COOKE/LOUIS

   ESTATE OF PHYLLIS M. MALKIN,
   By its Personal Representative, Toni Ellen Guarnero,

           Plaintiff,

   vs.

   WELLS FARGO BANK, N.A.,
   as Securities Intermediary, and BERKSHIRE
   HATHAWAY LIFE INSURANCE
   COMPANY OF NEBRASKA,

         Defendants.
   _____________________________________/
                                                ORDER
           THIS MATTER is before the Court on Defendants’ Motion to Approve Bond and to
   Stay Execution of Judgment and Enforcement Proceedings Pending Conclusion of
   Appellate Proceedings (the “Motion”) (ECF No. 217). The Court having reviewed the
   Motion and the relevant legal authorities, it is hereby ORDERED and ADJUDGED that
   the Motion is GRANTED. The Civil Supersedeas Bond attached to the Motion (ECF No.
   217-1) is APPROVED. The Final Judgment (ECF No. 216) and any enforcement
   proceedings in connection therewith are STAYED pending the conclusion of appellate
   proceedings.
           DONE and ORDERED in chambers, at Miami, Florida, this 20th day of November
   2019.




   Copies furnished to:
   Lauren Fleischer Louis, U.S. Magistrate Judge
   Counsel of record
